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                     THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


MICHELLE M. SUVADA,                          )
                                             )
                      Plaintiff,             )
                                             )
         v.                                  )       Case No. 11-cv-7892
                                             )
THE GORDON FLESCH                            )
COMPANY, INC.                                )       Jury Demand
                                             )
                      Defendant.             )
                                             )

                                     COMPLAINT

         Plaintiff, MICHELLE M. SUVADA, by and through her attorneys, THE LAW

OFFICE OF COLLEEN M. McLAUGHLIN, complains of Defendant, THE GORDON

FLESCH COMPANY, INC. (“GFC”) as follows:

                               NATURE OF THE CASE

         1.    Count 1 of this Complaint is brought against Defendant GFC pursuant to

the authority granted by the Americans with Disabilities Act (“ADA”), 42 U.S.C. §

12101.

         2.    Count 2 of this Complaint is brought against Defendant GFC pursuant to

the authority granted by the Illinois Human Rights Act, 775ILCS 5/101 et seq. (“IHRA”)

to bring a private cause of action in civil court for unlawful employment discrimination.

775 ILCS 5/7A-102 (F) (2) and 775 ILCS 5/7A-102 (G) (2).




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        3.     Count 3 of this Complaint is brought against Defendant GFC for unlawful

interference and breach of fiduciary duty violations of the Employee Retirement Income

and Security Act (“ERISA”), Section 502, 29 U.S.C. § 1132 and Section 510, 29 U.S.C. §

1140.

                             THE PARTIES AND JURISDICTION

        4.     Defendant GFC is a Wisconsin corporation, authorized to do business in

Illinois. GFC is headquartered in Madison Wisconsin, its regional headquarters is in

Geneva, Illinois and it has an office in Chicago, Illinois.

        5.     Plaintiff Michelle Suvada (“Plaintiff”) was employed at Defendant GFC

as a Production Clerk from June 15, 2009 through October 9, 2009. Plaintiff worked for

GFC’s On Site Services Division on location at Hewitt EnnisKnupp, Inc.

(“EnnisKnupp”) which is located in Chicago, Illinois.

        6.     Plaintiff filed a charge of discrimination with the Equal Employment

Opportunity Commission (“EEOC”) under the Americans with Disabilities Act (“ADA”),

42 U.S.C. §12112. EEOC Charge No. 440-2010-00443. The EEOC’s investigation

resulted in a finding that “reasonable cause to believe that Respondent discriminated

against Charging Party by denying her a reasonable accommodation and constructively

discharging her because of her disability, in violation of the ADA” existed. Exhibit A.

The EEOC issued its Notice of Right to Sue on August 8, 2011. Exhibit B.

        7.     This action is filed within 90 days of the Plaintiff’s receipt of the EEOC’s

Notice of Right to Sue. Jurisdiction for Count 1 is proper in the district court for the

Northern District of Illinois.




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        8.     Plaintiff’s charge of discrimination with the EEOC was automatically

cross-filed with the Illinois Department of Human Rights (“IDHR”). The EEOC closed

its file and issued its Right to Sue on August 8, 2011. This action is filed within 90 days

of the issuance of the right to sue by the EEOC and more than 365 days after the cross-

filing of the charge with the IDHR. Count 2 is brought pursuant to the authority granted

by the IHRA, 775 ILCS 5/7A-102(G)(2).

        9.     This Court has jurisdiction over the claims in Counts 1 and 3 under the 28

U.S.C §1331 as Plaintiff’s claims under the ADA and ERISA are based on federal

statutes.

        10.    In addition, this court has Supplemental Jurisdiction over the Illinois

Human Rights Act claim in Count 2 pursuant to 28 U.S.C. § 1367 as this is a non-federal

claim arising from a common nucleus of operative facts such that a plaintiff would

ordinarily be expected to try them in one judicial proceeding.

        11.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b) and

sec. 1391(c) because the acts and omissions giving rise to the cause of action have arisen

and occurred in the Northern District of Illinois.

                           FACTS COMMON TO ALL COUNTS

        12.    On June 15, 2009, Plaintiff commenced her employment as a temporary

employee with GFC and was assigned as an on-site Production Clerk for EnnisKnupp.

        13.    Plaintiff was hired as a full-time, permanent employee by GFC on July 20,

2009. She remained assigned to EnnisKnupp throughout her employment.

        14.    Throughout her employment, Plaintiff performed her duties at or above

the legitimate business expectations of her employer


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          15.    Defendant GFC has a wage continuation plan for Short Term and Long

Term Disability (policy 374822).

          16.    As a full-time, permanent employee, Plaintiff was entitled to certain

employee benefits, including but not limited to, medical insurance and short term and/or

long-term disability coverage.

          17.    On September 11, 2009, Plaintiff went to the emergency room with severe

abdominal pain at approximately 1:45 am and did not make it into work that day. She

called her off-site GFC supervisor, Vicky Slouka (“Slouka”), at approximately 6 a.m. that

morning to report her absence.

          18.    Between September 11, 2009 and October 8, 2009, Plaintiff had several

doctor appointments and medical tests in an effort to diagnose her medical condition.

Plaintiff made her supervisors aware of these appointments but continued to work her

regular schedule during this time.

          19.    On the morning of October 8, 2009, Plaintiff was diagnosed with cervical

cancer.

          20.    Plaintiff reported to work on October 8, 2009, after receiving her cancer

diagnosis. Neither her on-site supervisor at EnnisKnupp nor her GFC supervisor, Slouka,

was at work that day. Plaintiff advised her co-worker, Pierre Hill, of her diagnosis. Hill

emailed both the on-site supervisor and Slouka at GFC and advised them that Plaintiff

had been diagnosed with cancer. Pierre allowed Plaintiff to leave work early that day.

          21.    The following day, Plaintiff reported to work at her regularly scheduled

time of 1 p.m.




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       22.     Approximately one-half hour after arriving to work, Slouka called Plaintiff

by phone.

       23.     During this conversation, Plaintiff advised Slouka of her diagnosis and

that she would need to take time off for medical appointments. Plaintiff asked if there

were any other positions within GFC that she could move to because she thought she may

not be able to do some of the heavier work during her treatment and she would require

some time off. Slouka instantaneously advised that there were no other positions and that

Plaintiff would need to keep to her current schedule. Plaintiff asked Slouka what options

she had. Slouka advised Plaintiff that her performance was not up to standards anyway

and if she could not work her current position she should resign. Slouka required an

immediate response because she would need to fill Plaintiff’s position right away.

       24.     Believing that she had no other choice in the matter, Plaintiff resigned.

       25.     On information and belief, under Defendant GFC’s disability plans, prior

to Plaintiff’s termination on October 9, 2009, Plaintiff was eligible for both short-term

and long-term disability benefits for a non-work-related sickness or injury.

                                         COUNT 1
                                Employment Discrimination
                                  in violation of the ADA

       26.     Plaintiff re-alleges and restates paragraphs 1-25 as if fully set forth herein.

       27.     Plaintiff is an “employee” as defined by the ADA. 42 U.S.C. §12111(4).

       28.     Defendant, GFC, is an “employer” as defined by the ADA. 42 U.S.C.

§12111(5).

       29.     The actions described above in paragraphs 1-25 constitute

“Discrimination” against Plaintiff within the meaning of the ADA. 42 U.S.C. §12112.



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        30.     At all relevant times, Plaintiff was in need of an accommodation within

the meaning of the ADA.

        31.     On information and belief, Defendant GFC had multiple positions

available for Plaintiff that would have been able to accommodate Plaintiff’s medical

treatment schedule.

        32.     On or about October 9, 2009, Defendant discriminated against Plaintiff

based on her disability, when it failed to consider her request for accommodation and

engage in the interactive process.

        33.     On or about October 9, 2009, Defendant discriminated against Plaintiff

based on her disability, when it failed to accommodate her request for time off for

medical treatments or to transfer her to another position within the company.

        34.     On or about October 9, 2009, Defendant discriminated against Plaintiff

based on her disability, when it failed to provide her the Short Term Disability coverage

to which she was entitled.

        35.     On or about October 9, 2009, Defendant discriminated against Plaintiff

based on her disability, when it constructively discharged her from employment.

        36.     The actions of Defendant were intentional, willful, and malicious and/or in

deliberate indifference for Plaintiff’s rights

        37.     The actions of the Defendant against Plaintiff have caused her great

mental anguish, emotional pain and suffering, inconvenience, lost wages and benefits,

future pecuniary losses, and other damages.

       WHEREFORE, Plaintiff, Michelle Suvada, respectfully prays that this Court

enter an order granting Plaintiff the following relief:



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      a. Reinstatement

      b. Back-pay;

      c. Actual damages incurred as a result of the discrimination;

      d. Punitive damages;

      e. Pre Judgment interest;

      f. Post Judgment interest;

      g. Litigation costs;

      h. Reasonable attorney’s fees; and

      i. Such other and further relief as may be just in law and in equity.



                                           COUNT 2
                                  Illinois Human Rights Act

       38.        Plaintiff re-alleges and restates paragraphs 1-25 as if fully set forth herein.

       39.        Plaintiff is an “Aggrieved Party” as defined by the IHRA. 775 ILCS 5/1 -

103 (B).

       40.        Plaintiff is an “employee” as defined by the IHRA. 775 ILCS 5/2 -101

(A)(1)(a).

       41.        Defendant, GFC, is an “employer” as defined by the IHRA. 775 ILCS 5/2

-101 (B)(1)(a).

       42.        The actions described above in paragraph 1-25 constitute “Unlawful

Discrimination” against Plaintiff within the meaning of the IHRA. 775 ILCS 5/1-103 (Q).

       43.        At all relevant times, Plaintiff was in need of an accommodation within

the meaning of the IHRA. 775 ILCS 5/1 -103 (I).




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        44.     On information and belief, Defendant GFC had multiple positions

available for Plaintiff that would have been able to accommodate Plaintiff’s medical

treatment schedule.

        45.     On or about October 9, 2009, Defendant discriminated against Plaintiff

based on her disability, when it failed to consider her request for accommodation and

engage in the interactive process.

        46.     On or about October 9, 2009, Defendant discriminated against Plaintiff

based on her disability, when it failed to accommodate her request for time off for

medical treatments or to transfer her to another position within the company.

        47.     On or about October 9, 2009, Defendant discriminated against Plaintiff

based on her disability, when it failed to provide her the Short Term Disability coverage

to which she was entitled.

        48.     On or about October 9, 2009, Defendant discriminated against Plaintiff

based on her disability, when it constructively discharged her from employment.

        49.     The actions of Defendant were intentional, willful, and malicious and/or in

deliberate indifference for Plaintiff’s rights

        50.     The actions of the Defendant against Plaintiff have caused her great

mental anguish, emotional pain and suffering, inconvenience, lost wages and benefits,

future pecuniary losses, and other damages.

       WHEREFORE, Plaintiff, Michelle Suvada, respectfully prays that this Court

enter an order granting Plaintiff the following relief:

       a. Reinstatement

       b. Back-pay;



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       c. Actual damages incurred as a result of the discrimination;

       d. Punitive damages;

       e. Pre Judgment interest;

       f. Post Judgment interest;

       g. Litigation costs;

       h. Reasonable attorney’s fees; and

       i. Such other and further relief as may be just in law and in equity.

                                          COUNT 3
                                   Welfare Benefit – ERISA
                                   (Pled in the alternative)

        51.     Plaintiff re-alleges and restates paragraphs 1-25, as if fully set forth herein.

        52.     Defendant GFC has a wage-continuation program for the benefit of its

employees, including but not limited to Plaintiff, who have a short-term or long-term

non-work related disability (the “disability plans”).

        53.     The disability plans are policies that were established and/or maintained

by the Defendant GFC.

        54.     On information and belief, Defendant conducts administrative

responsibilities related to the disability plans, determines eligibility, calculates benefit

levels, and monitors funding for benefit payments to employees.

        55.     Defendant GFC’s disability plans are “Welfare Plans” as contemplated by

ERISA 29 U.S.C. 1002 (3)(1) and (3)(2)(A), 29 U.S.C. 1002(1) and1002 (2)(A).

        56.     On information and belief, Defendant GFC is a “fiduciary “as defined by

ERISA sec. 3(21).




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        57.     Plaintiff is an “employee” “beneficiary” and “participant” as defined by

ERISA, 29 USCA 1002(6) (7) and (8).

        58.     Plaintiff began chemo and radiation treatments in November 2009.

        59.     Plaintiff resumed work on a full-time basis on January 24, 2010.

        60.     On information and belief, Plaintiff was able to resume work prior to the

expiration of any short-term disability benefits to which she was entitled through her

employment with GFC.

        61.     By advising Plaintiff to resign and not informing her of her option to take

short-term disability, GFC was able to terminate Plaintiff’s employment without having

to pay Plaintiff the benefits to which Plaintiff would have otherwise been entitled under

the disability plans.

        62.     Defendant, GFC, terminated Plaintiff in order to avoid providing her

benefits under its disability plans in violation of ERISA sec. 510.

        63.     By denying Plaintiff her eligibility and ability to participate in the

disability plans Defendant has breached its fiduciary duty to Plaintiff.

        64.     On information and belief, Defendant’s Disability Plans provide no

remedy for employees such as Plaintiff who claim they have been discharged in order to

deny them the opportunity to obtain benefits under that plan.

        65.     On information and belief, an attempt to appeal a denial of full retirement

benefits due to a wrongful discharge in violation of ERISA would have been futile.

        WHEREFORE, Plaintiff, Michelle Suvada, respectfully prays that this Court

enter an order granting Plaintiff the following relief:

    a. Accrued liability due to plaintiff under the terms of the short-term disability plan;



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   b. Pre Judgment interest;

   c. Post Judgment interest;

   d. Litigation costs;

   e. Reasonable attorney’s fees; and

   f. Such other and further relief as may be just in law and in equity.


PLAINTIFF DEMANDS TRIAL BY JURY.

                                                    Respectfully Submitted,


                                                    s/Colleen McLaughlin
                                                    Colleen M. McLaughlin
                                                    One of Plaintiff’s attorneys


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